Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 1 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 2 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 3 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 4 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 5 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 6 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 7 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 8 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 9 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 10 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 11 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 12 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 13 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 14 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 15 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 16 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 17 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 18 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 19 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 20 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 21 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 22 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 23 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 24 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 25 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 26 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 27 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 28 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 29 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 30 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 31 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 32 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 33 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 34 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 35 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 36 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 37 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 38 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 39 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 40 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 41 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 42 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 43 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 44 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 45 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 46 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 47 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 48 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 49 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 50 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 51 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 52 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 53 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 54 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 55 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 56 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 57 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 58 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 59 of 60
Case 6:22-bk-02843-LVV   Doc 1   Filed 08/09/22   Page 60 of 60
